Case 3:17-cv-01362 Document 1149-2 Filed 10/30/20 Page 1 of 8 PageID #: 39888




              EXHIBIT
                 2
 Case 3:17-cv-01362 Document 1149-2 Filed 10/30/20 Page 2 of 8 PageID #: 39889



                                                                   Page 1

1                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
2
3
        * * * * * * * * * * * * * * * * * * * * * * *
4
        THE CITY OF HUNTINGTON,
5
                        Plaintiff,
6
        vs.                                             CIVIL ACTION
7                                                     NO. 3:17-01362
        AMERISOURCEBERGEN DRUG
 8      CORPORATION, et al.,
 9                Defendants.
10      ________________________
11      CABELL COUNTY COMMISSION,
12                Plaintiff,
13      vs.                                           CIVIL ACTION
                                                    NO. 3:17-01665
14      AMERISOURCEBERGEN DRUG
        CORPORATION, et al.,
15
                        Defendants.
16
        * * * * * * * * * * * * * * * * * * * * * * *
17
18
19               Videotaped and videoconference deposition
        of JAN RADER taken by the Defendants under the
20      Federal Rules of Civil Procedure in the above-
        entitled action, pursuant to notice, before Teresa
21      S. Evans, a Registered Merit Reporter, at the
        Mountain Health Arena, One Civic Center Plaza,
22      Huntington, West Virginia, on the 17th day of June,
        2020.
23
24

                                Veritext Legal Solutions
     www.veritext.com                                                  888-391-3376
 Case 3:17-cv-01362 Document 1149-2 Filed 10/30/20 Page 3 of 8 PageID #: 39890



                                                                  Page 70

1       pills everywhere, and then there was a crackdown,
2       and you -- you know, I think then general people
3       thought, "Oh, the -- the addiction problem will go
4       away."      And that wasn't the case, because we didn't
5       understand addiction and people turned to what was
6       readily available, and that was heroin and other
7       illicit drugs.
8                        You know, they -- they switched to not
9       be sick, you know, because they get very, very sick
10      when they don't get a drug that they're addicted
11      to.
12            Q.    Do you know what percentage of people using
13      illegal opioids --
14            A.    Uh-huh.
15            Q.    -- and by that, I mean heroin and the
16      synthetic fentanyl and drugs like that, started
17      with a prescription from a physician written to
18      them for a prescription opioid?
19            A.    In my ex --
20                       MS. KEARSE:       Object to form.       Just
21      because -- just the form of the question.
22                       Go ahead.      Go ahead and answer.
23            A.    In my experience, it has -- you know, I
24      talk to a lot of people on a regular basis that are


                                Veritext Legal Solutions
     www.veritext.com                                                 888-391-3376
 Case 3:17-cv-01362 Document 1149-2 Filed 10/30/20 Page 4 of 8 PageID #: 39891



                                                                  Page 71

1       suffering from substance use disorder or addiction,
2       and it's about 80 percent.
3             Q.    In your experience?
4             A.    Uh-huh.
5             Q.    And about -- approximately how many people
6       have you talked to and asked that question, how
7       they started?
8             A.    Hundreds and hundreds.
9             Q.    And you mentioned that opioids were being
10      prescribed for sprained ankles rather than end of
11      life care.
12            A.    Uh-huh.
13            Q.    Was it your impression that the prescribing
14      habits of physicians changed that led to more pre
15      -- more opioids being prescribed?
16            A.    Yes, I -- you know, it was -- you know,
17      oxycodone, hydrocodone, OxyContin, it was all
18      pushed as less addictive or nonaddictive, and
19      that's simply not true.
20            Q.    And do you know why their prescription --
21      prescribing habits changed?
22            A.    I'm sure the standard of care changed.
23            Q.    And do you know what led to the change in
24      the standard of care?


                                Veritext Legal Solutions
     www.veritext.com                                                 888-391-3376
 Case 3:17-cv-01362 Document 1149-2 Filed 10/30/20 Page 5 of 8 PageID #: 39892



                                                                  Page 72

1             A.    I have no idea.       But it's a -- you know
2       it's my experience and my opinion that it's greed.
3             Q.    And when you said that they were pushed as
4       less addictive --
5             A.    Uh-huh.
6             Q.    -- pushed by whom?
7             A.    Big pharma.
8             Q.    And when you say "big pharma," who do you
9       mean?
10            A.    Companies that make and distribute the
11      drugs.
12            Q.    And what's the basis for your belief that
13      it was big pharma that led to this change in
14      prescribing habits?
15            A.    Well, you talk to physicians and they'll
16      tell you -- you know, you've got a lot of good
17      doctors caught in the middle.               I remember seeing
18      commercials for OxyContin when it came out, that
19      it's less addictive and nonaddictive.
20                       You know, it's been written about.
21      You know, what was it?          The five-sentence paragraph
22      written by Doctor Jick that was published in a
23      journal in 1980, it talked about less than 1
24      percent of those that take prescription drugs


                                Veritext Legal Solutions
     www.veritext.com                                                 888-391-3376
 Case 3:17-cv-01362 Document 1149-2 Filed 10/30/20 Page 6 of 8 PageID #: 39893



                                                                  Page 77

1       or whatever.      So a lot of times, it's the dealers
2       that basically control what the drug of choice is
3       at the time.
4             Q.    To your knowledge, do opioids have
5       medically-appropriate uses?
6             A.    They do.
7             Q.    And what are those?
8             A.    End of life care.          Chronic pain.
9             Q.    And physicians can legitimately prescribe
10      opioids?
11            A.    Yes, absolutely.
12            Q.    And pharmacists can legitimately dispense
13      opioids?
14            A.    They can.
15            Q.    Have you ever personally used an opioid?
16            A.    I have.
17            Q.    Which ones?
18            A.    I was prescribed hydrocodone and oxycodone
19      both with knee surgeries.
20            Q.    And did you have any issues with taking
21      those?
22            A.    I hated them.       I hated the side effects:
23      The nausea, couldn't keep my eyes open.                 I took --
24      after knee surgeries, they'd make you take one


                                Veritext Legal Solutions
     www.veritext.com                                                 888-391-3376
 Case 3:17-cv-01362 Document 1149-2 Filed 10/30/20 Page 7 of 8 PageID #: 39894



                                                                       Page 78

1       before you left the hospital.               But I had -- I
2       wanted nothing to do with it.
3                          As soon as I'd get home, I'd switch to
4       Tylenol and Aleve or something else.                   So --
5             Q.    Have you ever had any issues with drug or
6       alcohol abuse?
7             A.    Me personally?
8             Q.    Yes.
9             A.    No.
10            Q.    Have you had any family members or friends
11      that have had issues with opioid abuse?
12            A.    Yes.
13            Q.    Can you tell me generally about that?
14                         MS. KEARSE:     That's -- I was going to
15      raise -- I mean, I think these are sensitive issues
16      there.
17                         MS. BROWNING:       Yeah.
18                         MS. KEARSE:     So I'm going to leave it
19      to the Chief on how --
20                         MS. BROWNING:       Yeah, that's why I said
21      "generally."
22                         MS. KEARSE:     -- on that too.
23            A.    I have a lot of friends.               There's not one
24      person in this area that I know that has not been


                                Veritext Legal Solutions
     www.veritext.com                                                    888-391-3376
 Case 3:17-cv-01362 Document 1149-2 Filed 10/30/20 Page 8 of 8 PageID #: 39895



                                                                  Page 79

1       touched or had collateral damage to them,
2       themselves from the opi -- opioid epidemic.                   It is
3       horrendous.
4             Q.    During your career with the fire
5       department, have you ever known a time when abuse
6       of drugs was not a significant problem in this
7       area?
8             A.    It wasn't when I first started.             I rarely
9       went on an overdose.          Rarely.        Usually the only
10      calls we went on when I first came on the job were
11      -- that were drug-related were alcohol-related to
12      our local drunks that everybody knew.
13            Q.    And then you told me that you started to
14      see issues with --
15            A.    -- pills.
16            Q.    -- pills --
17            A.    Uh-huh.
18            Q.    -- about when?
19            A.    It was probably early to mid 2000s.
20            Q.    And then we've discussed a number of times
21      that around 2012, you started to see a shift to
22      the -- away from pills and toward the illicit
23      fentanyl, carfentanil --
24            A.    Uh-huh.


                                Veritext Legal Solutions
     www.veritext.com                                                 888-391-3376
